                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR96-4023-MWB
 vs.                                                  ORDER CONCERNING
                                                  MAGISTRATE’S REPORT AND
 JOSE MARTIN LEON, a/k/a Jose
                                                 RECOMMENDATION REGARDING
 DeLeon,
                                                   DEFENDANT’S GUILTY PLEA
               Defendant.
                                  ____________________

                       I. INTRODUCTION AND BACKGROUND
       On September 19, 2006, an information was filed against defendant Jose Martin
Leon, charging defendant with conspiring to distribute to distribute cocaine and to distribute
100 grams or more of methamphetamine,            in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(B), and 846, and with failure to appeal, in violation of 18 U.S.C. §§ 3146 and
3147. On September 20, 2006, defendant appeared before United States Magistrate Judge
Paul A. Zoss and entered a plea of guilty to Counts 1 and 2 of the information. On this
same date, Judge Zoss filed a Report and Recommendation in which he recommends that
defendant’s guilty plea be accepted.        No objections to Judge Zoss’s Report and
Recommendation were filed. The court, therefore, undertakes the necessary review of
Judge Zoss’s recommendation to accept defendant’s plea in this case.


                                      II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or


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               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
               The district judge to whom the case is assigned shall make a de
               novo determination upon the record, or after additional
               evidence, of any portion of the magistrate judge’s disposition to
               which specific written objection has been made in accordance
               with this rule. The district judge may accept, reject, or modify
               the recommended decision, receive further evidence, or
               recommit the matter to the magistrate judge with instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of September 20,
2006, and accepts defendant’s plea of guilty in this case to Counts 1 and 2 of the
information.
      IT IS SO ORDERED.
      DATED this 20th day of December, 2006.


                                                  __________________________________
                                                  MARK W. BENNETT
                                                  CHIEF JUDGE, U. S. DISTRICT COURT
                                                  NORTHERN DISTRICT OF IOWA




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